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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.      CV 23-6547-KK-MARx                                       Date: June 7, 2024
   Title: Nora Gutierrez v. Converse Inc., et al.



  Present: The Honorable KENLY KIYA KATO, UNITED STATES DISTRICT JUDGE


                   Noe Ponce                                                Not Reported
                  Deputy Clerk                                             Court Reporter


       Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
                  None Present                                              None Present

  Proceedings:      (In Chambers) Order to Show Cause Why Plaintiff’s Counsel Should Not
                    Be Sanctioned For Failure to Comply with the Court’s Local Rules


          On July 5, 2023, plaintiff Nora Gutierrez (“Plaintiff”) filed a class action Complaint against
  defendant Converse Inc. (“Defendant”) in Los Angeles County Superior Court, alleging the chat
  feature on Defendant’s website records communications from Plaintiff and other California users of
  Defendant’s website without their consent in violation of California’s Invasion of Privacy Act and
  Comprehensive Computer Data Access and Fraud Act. ECF Docket No. (“Dkt.”) 1-2. On August
  10, 2023, the action was removed to this Court. Dkt. 1.

           On May 16, 2024, Plaintiff filed a Motion for Class Certification (“Motion”). Dkt. 83. Both
  Plaintiff and Defendant filed Applications seeking to file certain documents under seal in connection
  with the briefing on the Motion. Dkts. 84, 91, 97. However, as the Court stated in its June 6, 2024
  Order regarding the parties’ Applications, Plaintiff’s counsel failed to comply with the Court’s Local
  Rules with respect to procedures for filing documents under seal. See dkt. 104 at 3. Among other
  things, Plaintiff’s counsel failed to provide defense counsel with a complete list of the confidential
  documents Plaintiff intended to file in connection with the Motion, failed to incorporate defense
  counsel’s proposed redactions to such documents to eliminate or minimize the need for filing under
  seal, and failed to respond to defense counsel’s meet and confer efforts regarding documents and
  information designated by Plaintiff as confidential. 1 See id.


          1
           As the Court previously noted, this is not Plaintiff’s first failure to comply with the Court’s
  Local Rules. See dkt. 86 at 4 (denying Plaintiff’s Motion to Reconsider the Magistrate Judge’s April
  24, 2024 Order for failure to meet and confer as required by Local Rule 7-3).

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           Pursuant to Local Rule 83-7, a “willful, grossly negligent, or reckless” violation of any of the
  Court’s Local Rules may subject the offending party or counsel to monetary sanctions. Accordingly,
  Plaintiff’s counsel, Robert Tauler, Wendy L. R. Miele, Betsy Tauler, Camrie M. Ventry, and Narain
  A. Kumar, are ORDERED TO SHOW CAUSE in writing why they should not be sanctioned in
  the amount of $500 each for their multiple failures to comply with the requirements of Local Rule
  79-5.2.2(b). Plaintiff’s counsel shall have up to and including June 12, 2024 to respond to this
  Order.

         Plaintiff is explicitly warned that failure to comply with this Order may result in
  additional sanctions, including monetary and/or terminating sanctions.

          IT IS SO ORDERED.




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